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Exhibit 2

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Attorney: SPEIGHTS, DANIEL A
Law Firm: SPEIGHTS & RUNYAN
Claim Number: 12418
Claimant: CARLETON UNIVERSITY,

As described below, certain questions on the Asbestas Property Damage Proof of
Claim Form require the claimant to provide documents. On the Claim Form identified
above, the following checked questions were not answered or were not responded ta
property, for the reason(s) stated:

4 Category 1 Claim: O Category 1 Comments:
16. Documents relating to the purchase and/or installation of the product in the property.
No documents were provided. .
CI Documents provided are insufficient because:

18. Documents concerning when the claimant first knew of the presence of asbestos in

the property, . a
P Pemy Ne documents were provided.

QD Documents provided are insufficient because:

22. Documents conceming efforts to remove, contain and/or abate the Grace product.
No dacuments were provided.
TO Documents provided are insufficient because:

26. Documents eonceming testing or sampling for asbestos in the property.
DC No documents were provided.
M4 Documents provided are insufficient because:

building air sample results were not included.

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